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                     UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


                                             NO. 91-80936-1
                                             HON.PATRICK J. DUGGAN
UNITED STATES OF AMERICA,

                   Plaintiff(s),

vs.

VENUS COLEMAN,

                   Defendant(s).
                                        /

       ORDER GRANTING MOTION FOR LEAVE TO FILE LATE REPLY

                   At a session of said Court, held in the U.S.
                   District Courthouse, City of Detroit, County
                   of Wayne, State of Michigan on March 14, 2005.


      This matter is before the Court on Defendant’s Motion to File Late Reply Brief,

therefore;

      IT IS ORDERED that the Motion for Leave to File Late Reply Brief be and the

same is hereby GRANTED.


                           S/Patrick J. Duggan
                           Patrick J. Duggan
                           United States District Judge

Dated: November 6, 2008

I hereby certify that a copy of the foregoing document was served upon counsel of
record on November 6, 2008, by electronic and/or ordinary mail.

                           S/Marilyn Orem
                           Case Manager
